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     FILED & JUDGMENT ENTERED
               Steven T. Salata




              December 21 2017


       Clerk, U.S. Bankruptcy Court
      Western District of North Carolina
                                                                              _____________________________
                                                                                       J. Craig Whitley
                                                                                United States Bankruptcy Judge




                                UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF NORTH CAROLINA
                                         SHELBY DIVISION

In Re:

JUAN JOSE CORCHADO                                         Case No. 17-40025
SSN: xxx xx 5723                                           Chapter 7

                  Debtor.
____________________________________

    ORDER GRANTING TRUSTEE'S APPLICATION TO EMPLOY AUCTIONEER
                NUNC PRO TUNC TO DECEMBER 17, 2017

        THIS CAUSE coming on to be heard and being heard before the undersigned Judge of
the United States Bankruptcy Court for the Western District of North Carolina, Shelby Division,
upon the Trustee's Application to Employ Auctioneer to Conduct Public and Private Sales and
Declaration previously filed herein; and it appearing to the Court that no Notice and a Hearing as
that phrase is defined in the Bankruptcy Code and the Rules of Bankruptcy Procedure is required
in this matter; and from the Trustee's Application herein as well as the record, the Court makes
the following:

                                              FINDINGS OF FACT

         1.        That Frederick L. Henderson Jr. is the duly qualified and acting Trustee in this
                   estate.

         2.        That the assets of this estate will include a 2015 Nissan Frontier to be turned over
                   to the Trustee by the debtor in this case pursuant to a proposed settlement
                   agreement that will be submitted to the Court for approval contemporaneously
                   with this application.

         3.        In order to liquidate said assets for the benefit of creditors, it will be necessary to
                   sell said property.
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    4.   From his experience as a Trustee and observation of professional standards, your
         applicant is satisfied that the best and highest net recovery to this estate will arise
         by selling the property at public and private sales through the employment and
         services of a licensed auctioneer.

    5.   The Trustee has received from Gary Boyd of Gary Boyd Auction & Real Estate, a
         licensed auctioneer, an offer to liquidate said property at public and private sales
         upon the following terms and conditions:

         a.      Auctioneer to be reimbursed actual and necessary expenses,
                 including, but not limited to, relocating assets, set-up, advertising,
                 lotting, security personnel, check-out, clean-up, etc. in an amount
                 to be approved by the Court. Without limiting the generality of the
                 foregoing, said expenses will include display type advertisements
                 in newspapers, the internet, a general mailing or flier to the trade in
                 the case of public sale.

         b.      The auctioneer is to receive a commission in an amount as approved by the
                 Court on the gross sales of all public and private sales conducted by the
                 auctioneer.

    6.   The Trustee is informed and believes, and therefore alleges, that the granting of
         this Application is in the best interest of this estate and accordingly, that the Court
         should approve said employment as provided in 11 U.S.C. Section 327(a). From
         the Declaration made by Gary Boyd of Gary Boyd Auction & Real Estate, in
         connection with his employment as auctioneer herein, the Trustee is informed and
         believes that said auctioneer is a disinterested person within the meaning of 11
         U.S.C. Section 101(14), and accordingly, that it is appropriate to employ said
         auctioneer under the provisions of 11 U.S.C. Section 327(a).

    7.   The auctioneer is aware of the provisions of 11 U.S.C. Section 328 and has
         agreed, notwithstanding the terms and conditions of employment herein set forth,
         that the Court may allow compensation different from the compensation provided
         herein if such terms and conditions prove to have been improvident in light of
         developments unable to be anticipated at the time of the fixing of such terms and
         conditions.

    8.   The auctioneer may be required to relocate estate assets to another secure location.
         The Trustee requests that his employment of the auctioneer be allowed to include
         moving and storing services as necessary to facilitate the sale of the assets herein.

    9.   The debtor in this case did already arrange for the auctioneer to pick up the 2015
         Nissan Frontier on December 17, 2017, and the auctioneer has secured the
         vehicle.
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                                    CONCLUSIONS OF LAW

        Allowing the Trustee to employ Gary Boyd of Gary Boyd Auction & Real Estate as
auctioneer to conduct public and private sales of the assets of this estate is in the best interest of
the estate and accordingly, the Court should approve said employment as provided in 11 U.S.C.
Section 327(a). Furthermore, Gary Boyd is a disinterested person within the meaning of 11
U.S.C. Section 101(14).

         IT IS THEREFORE ORDERED that the Trustee be, and he hereby is, authorized nunc
pro tunc to December 17, 2017, to employ Gary Boyd of Gary Boyd Auction & Real Estate as
auctioneer to conduct public and private sales and to move and to store assets as may be required
in this estate in this estate on the terms and conditions set forth herein as well as terms and
conditions to be more fully set forth in specific Applications for authority to sell filed by the
Trustee herein related to various contemplated sales.


This Order has been signed              United States Bankruptcy Court
electronically. The judge’s
signature and court’s seal
appear at the top of the Order
